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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                           )
                                                  )
               Plaintiff,                         )
                                                  )
       v.                                         )      C.A. No. 22-1466-MN
                                                  )
TESLA, INC.,                                      )
                                                  )
               Defendant.                         )


                                         SCHEDULING ORDER
         This 2 2 n d day of March 2023, the Court having conducted an initial Rule 16(b)

scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined after

discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation, or

binding arbitration;

         IT IS HEREBY ORDERED that:

       1.      Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. The parties

shall make their initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(l) by April 14,

2023. If they have not already done so, the parties are to review the Court’s Default Standard for

Discovery, Including Discovery of Electronically Stored Information (‘‘ESI”), which is posted at

http://www.ded.uscourts.gov (see Other Resources, Default Standard for Discovery) and is

incorporated herein by reference.

       2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings, shall be filed on or before September 18, 2023.

Unless otherwise ordered by the Court, any motion to join a party or motion to amend the pleadings

shall be made pursuant to the procedures set forth in Paragraphs 8(g) and 9.

       3.      Application to Court for Protective Order. Should counsel find it will be necessary to

apply to the Court for a protective order specifying terms and conditions for the disclosure of
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confidential information, counsel should confer and attempt to reach an agreement on a proposed form

of order and submit it to the Court within thirty (30) days from the date the Court enters this Order.

Should counsel be unable to reach an agreement on a proposed form of order, counsel must follow the

provisions of Paragraph 8(g) below.

       Any proposed protective order must include the following paragraph:

                 Other Proceedings. By entering this order and limiting the disclosure
                 of information in this case, the Court does not intend to preclude
                 another court from finding that information may be relevant and
                 subject to disclosure in another case. Any person or party subject to
                 this order who becomes subject to a motion to disclose another
                 party’s information designated “confidential” [the parties should list
                 any other level of designation, such as “highly confidential,” which
                 may be provided for in the protective order] pursuant to this order
                 shall promptly notify that party of the motion so that the party may
                 have an opportunity to appear and be heard on whether that
                 information should be disclosed.
       4.       Papers Filed Under Seal. In accordance with section G of the Revised Administrative

Procedures Governing Filing and Service by Electronic Means, a redacted version of any sealed

document shall be filed electronically within seven (7) days of the filing of the sealed document.

       5.       Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies of

all briefs and any other document filed in support of any briefs (i.e., appendices, exhibits, declarations,

affidavits etc.). This provision also applies to papers filed under seal. All courtesy copies shall be

double-sided.

       6.       Disclosures. Absent agreement among the parties, and approval of the Court:

                (a)      By May 19, 2023, Plaintiff shall identify the accused product(s), including

accused methods and systems, and its damages model, as well as the asserted patent(s) that the accused

product(s) allegedly infringe(s). Plaintiff shall also produce the file history for each asserted patent.

                (b)      By June 30, 2023, Defendant shall produce core technical documents related

to the accused product(s), sufficient to show how the accused product(s) work(s), including but not


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limited to non-publicly available operation manuals, product literature, schematics, and specifications.

Defendant shall also produce sales figures for the accused product(s). 1

                  (c)           By August 18, 2023, Plaintiff shall produce an initial claim chart relating each

known accused product to the asserted claims each such product allegedly infringes.

                  (d)           By September 8, 2023, Defendant shall produce its initial invalidity

contentions for each asserted claim, as well as the known related invalidating references.

                  (e)           By March 1, 2024, Plaintiff shall provide final infringement contentions.

                  (f)           By March 15, 2024, Defendant shall provide final invalidity contentions.

                  (g)           By March 29, 2024, Plaintiff shall provide final validity contentions.

                  (h)           By March 29, 2024, Defendant shall provide final non-infringement

contentions. 2

         7.       Discovery. Unless otherwise ordered by the Court or agreed to by parties, the

limitations on discovery set forth in the Federal Rules shall be strictly observed.

                  (a)           Fact Discovery Cut Off. All fact discovery in this case shall be initiated so

that it will be completed on or before February 9, 2024.

                  (b)      Document         Production. Document            production      shall     be    substantially

complete by December 1, 2023.

                  (c)      Requests for Admission.              A maximum of 25 requests for admission are

permitted for each side.

                  (d)      Interrogatories.

                           i.         A maximum of 25 interrogatories, including contention interrogatories,

are permitted for each side.


1
  Defendant shall make available relevant source code by this date.
2
  The parties agree, subject to their objections, to answer preliminary non-infringement and validity interrogatories during
the ordinary course of discovery and no interrogatory response will be withheld based on the obligations delineated by
Sections 6(g-h) of the Scheduling Order.
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                        ii.       The Court encourages the parties to serve and respond to contention

interrogatories early in the case. In the absence of agreement among the parties, contention

interrogatories, if filed, shall first be addressed by the party with the burden of proof. The adequacy of

all interrogatory answers shall be judged by the level of detail each party provides (i.e., the more detail

a party provides, the more detail a party shall receive).

                (e)     Depositions.

                        i.      Limitation on Hours for Deposition Discovery. Each side is limited to a

total of 70 hours of taking testimony by deposition upon oral examination.

                        ii.     Location of Depositions. The parties agree to conduct depositions at a

location convenient to the witness as reasonably determined by the producing party. The parties may

also agree to hold any and all depositions remotely or virtually, pursuant to a mutually agreed-upon

remote deposition protocol, to be determined at a later date.

                (f)     Disclosure of Expert Testimony.

                        i.        Expert Reports. For the party who has the initial burden of proof on the

subject matter, the initial Federal Rule of Civil Procedure 26(a)(2) disclosure of expert testimony is

due on or before September 13, 2024. The supplemental disclosure to contradict or rebut evidence on

the same matter identified by another party is due on or before October 11, 2024. Reply expert reports

from the party with the initial burden of proof are due on or before November 8, 2024. No other

expert reports will be permitted without either the consent of all parties or leave of the Court. Along

with the submissions of the expert reports, the parties shall advise of the dates and times of their experts’

availability for deposition.

                        ii.       Objections to Expert Testimony. To the extent any objection to

expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall

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be made by motion no later than the deadline for dispositive motions set forth herein, unless otherwise

ordered by the Court. Briefing on such motions is subject to the page limits set out in connection with

briefing of case dispositive motions.

                         iii.     Expert Discovery Cut-Off. All expert discovery in this case shall be

initiated so that it will be completed on or before December 6, 2024.

                  (g)    Discovery Matters and Disputes Relating to Protective Orders.

                         i.       Any discovery motion filed without first complying with the following

procedures will be denied without prejudice to renew pursuant to these procedures.

                         ii.      Should counsel find, after a reasonable effort pursuant to Local Rule

7.1.1 that they are unable to resolve a discovery matter or a dispute relating to a protective order, the

parties involved in the discovery matter or protective order dispute shall contact the Court’s Judicial

Administrator to schedule an argument.

                         iii.     On a date to be set by separate order, generally not less than four (4)

days prior to the conference, the party seeking relief shall file with the Court a letter, not to exceed three

(3) pages, outlining the issues in dispute and its position on those issues. On a date to be set by separate

order, but generally not less than three (3) days prior to the conference, any party opposing the

application for relief may file a letter, not to exceed three (3) pages, outlining that party's reasons for

its opposition.

                         iv.      The parties shall provide to the Court two (2) courtesy copies of its

discovery letter and any other document filed in support of any letter (i.e., appendices, exhibits,

declarations, affidavits etc.). This provision also applies to papers filed under seal. All courtesy copies

shall be double-sided.

                         v.       Should the Court find further briefing necessary upon conclusion of the

conference, the Court will order it. Alternatively, the Court may choose to resolve the dispute prior to
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the conference and will, in that event, cancel the conference.

       8.      Motions to Amend / Motions to Strike.

               (a)       Any motion to amend (including a motion for leave to amend) a pleading or

any motion to strike any pleading or other document shall be made pursuant to the discovery dispute

procedure set forth in Paragraph 8(g) above.

               (b)       Any such motion shall attach the proposed amended pleading as well as a

“redline” comparison to the prior pleading or attach the document to be stricken.

       9.      Technology Tutorials. Although technology tutorials are not required by the Court, they

are appreciated and, if any party chooses to file such a tutorial, it shall be submitted on or before the

date that the Joint Claim Construction Brief is filed.

       10.     Claim Construction Issue Identification. On October 20, 2023, the parties shall

exchange a list of those claim term(s)/phrase(s) that they believe need construction and their proposed

claim construction of those term(s)/phrase(s). This document will not be filed with the Court.

Subsequent to exchanging that list, the parties will meet and confer to prepare a Joint Claim Construction

Chart to be submitted on April 5, 2024. The parties’ Joint Claim Construction Chart should identify

for the Court the term(s)/phrase(s) of the claim(s) in issue, and should include each party’s proposed

construction of the disputed claim language with citation(s) only to the intrinsic evidence in support of

their respective proposed constructions. Intrinsic evidence (including copies of the patent(s) at issue)

shall NOT be attached to the joint claim construction chart and, instead, the parties shall include a joint

appendix with the joint claim construction brief, and the joint appendix shall include a copy of the

patent(s) at issue and portions of all relevant intrinsic evidence that would have otherwise been

included with the joint claim construction chart, as well as any additional evidence cited in the parties’

briefing.

       11.     Claim Construction Briefing. The Plaintiff shall serve, but not file, its opening brief,
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not to exceed 20 pages, on April 26, 2024. The Defendant shall serve, but not file, its answering brief,

not to exceed 30 pages, on May 24, 2024. The Plaintiff shall serve, but not file, its reply brief, not to

exceed 20 pages, on June 7, 2024. The Defendant shall serve, but not file, its sur-reply brief, not to

exceed 10 pages, on June 14, 2024. No later than June 21, 2024, the parties shall file a Joint Claim

Construction Brief. The parties shall copy and paste their unfiled briefs into one brief, with their

positions on each claim term in sequential order, in substantially the form below. If the joint brief as

submitted is more than 80 pages, the parties must certify that the page limits (or equivalent word counts)

in the Scheduling Order have been complied with and provide a brief explanation (e.g., formatting

issues, listing of agreed-upon terms) as to why the brief is longer than 80 pages.

                            JOINT CLAIM CONSTRUCTION BRIEF

 I.      Agreed-Upon Constructions
 II.     Disputed Constructions

         [TERM 1]

                 1.      Plaintiff’s Opening Position
                 2.      Defendant’s Answering Position
                 3.      Plaintiff’s Reply Position
                 4.      Defendant’s Sur-Reply Position

         [TERM 2]

                 1.      Plaintiff’s Opening Position
                 2.      Defendant’s Answering Position
                 3.      Plaintiff’s Reply Position
                 4.      Defendant’s Sur-Reply Position

The parties need not include any general summaries of the law relating to claim construction. If there

are any materials that would be submitted in an index, the parties shall submit them in a Joint Appendix.

       12.     Hearing on Claim Construction. Beginning at 10:00am on July 26, 2024, the Court

will hear argument on claim construction. The parties need not include any general summaries of the

law relating to claim construction in their presentations to the Court. The parties shall notify the Court,

by joint letter submission, no later than the date on which their joint claim construction brief is filed:
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(i) whether they request leave to present testimony at the hearing; and (ii) the amount of time they are

requesting be allocated to them for the hearing.

       Provided that the parties comply with all portions of this Scheduling Order, and any other

orders of the Court, the parties should anticipate that the Court will issue its claim construction order

within sixty (60) days of the conclusion of the claim construction hearing. If the Court is unable to

meet this goal, it will advise the parties no later than sixty (60) days after the conclusion of the claim

construction hearing.

       13.     Supplementation. Absent agreement among the parties, and approval of the Court,

no later than December 15, 2023. the parties must finally supplement, inter alia, the

identification of all accused products and of all invalidity references.

       14.     Case Dispositive Motions.

               (a)       All case dispositive motions, an opening brief, and affidavits, if any, in support

of the motion shall be served and filed on or before January 10, 2025. Briefing will be presented

pursuant to the Court’s Local Rules. No case dispositive motion under Rule 56 may be filed more than

ten (10) days before the above date without leave of the Court.

               (b)       Concise Statement of Facts Requirement. Any motion for summary

judgment shall be accompanied by a separate concise statement, not to exceed six (6) pages, which

details each material fact which the moving party contends is essential for the Court’s resolution of the

summary judgment motion (not the entire case) and as to which the moving party contends there is no

genuine issue to be tried. Each fact shall be set forth in a separate numbered paragraph and shall be

supported by specific citation(s) to the record.

               Any party opposing the motion shall include with its opposing papers a response to the

moving party’s concise statement, not to exceed six (6) pages, which admits or disputes the facts set

forth in the moving party’s concise statement on a paragraph-by-paragraph basis. To the extent a fact

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is disputed, the basis of the dispute shall be supported by specific citation(s) to the record. Failure to

respond to a fact presented in the moving party’s concise statement of facts shall indicate that fact is not

in dispute for purposes of summary judgment. The party opposing the motion may also include with

its opposing papers a separate concise statement, not to exceed four (4) pages, which sets forth material

facts as to which the opposing party contends there is a genuine issue to be tried. Each fact asserted by

the opposing party shall also be set forth in a separate numbered paragraph and shall be supported by

specific citation(s) to the record.

                The moving party shall include with its reply papers a response to the opposing party’s

concise statement of facts, not to exceed four (4) pages, on a paragraph-by-paragraph basis. Failure to

respond to a fact presented in the opposing party’s concise statement of facts shall indicate that fact

remains in dispute for purposes of summary judgment.

                (c)       Page limits combined with Daubert motion page limits. Each party is

permitted to file as many case dispositive motions as desired provided, however, that each SIDE will

be limited to a combined total of 40 pages for all opening briefs, a combined total of 40 pages for all

answering briefs, and a combined total of 20 pages for all reply briefs regardless of the number of case

dispositive motions that are filed. In the event that a party files, in addition to a case dispositive motion,

a Daubert motion to exclude or preclude all or any portion of an expert’s testimony, the total amount

of pages permitted for all case dispositive and Daubert motions shall be increased to 50 pages for all

opening briefs, 50 pages for all answering briefs, and 25 pages for all reply briefs for each SIDE. 3

        15.     Applications by Motion. Except as otherwise specified herein, any application to the

Court shall be by written motion. Any non-dispositive motion should contain the statement required


3
  The parties must work together to ensure that the Court receives no more than a total of 250 pages
(i.e., 50 + 50 + 25 regarding one side’s motions, and 50 + 50 + 25 regarding the other side’s motions)
of briefing on all case dispositive motions and Daubert motions that are covered by this scheduling
order and any other scheduling order entered in any related case that is proceeding on a consolidated
or coordinated pretrial schedule.
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by Local Rule 7.1.1.

       16.     Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each SIDE shall be

limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine request

and any response shall contain the authorities relied upon; each in limine request may be supported by

a maximum of three (3) pages of argument, may be opposed by a maximum of three (3) pages of

argument, and the side making the in limine request may add a maximum of one (l) additional page in

reply in support of its request. If more than one party is supporting or opposing an in limine request,

such support or opposition shall be combined in a single three (3) page submission (and, if the moving

party, a single one (1) page reply), unless otherwise ordered by the Court. No separate briefing shall be

submitted on in limine requests, unless otherwise permitted by the Court.

       17.      Pretrial Conference. On June 16, 2025, the Court will hold a pretrial conference in Court

with counsel beginning at 4:30 pm. Unless otherwise ordered by the Court, the parties should assume

that filing the pretrial order satisfies the pretrial disclosure requirement of Federal Rule of Civil

Procedure 26(a)(3). The parties shall file with the Court the joint proposed final pretrial order in

compliance with Local Rule 16.3(c) and the Court’s Preferences and Procedures for Civil Cases not

later than seven (7) days before the pretrial conference. Unless otherwise ordered by the Court, the

parties shall comply with the timeframes set forth in Local Rule 16.3(d)(1)-(3) for the preparation of

the joint proposed final pretrial order.

       The parties shall provide the Court two (2) double-sided courtesy copies of the joint proposed

final pretrial order and all attachments. The proposed final pretrial order shall contain a table of

contents and the paragraphs shall be numbered.

       18.     Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be tried

to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1 the parties should file (i) proposed voir dire, (ii)
                                                   10
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preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms seven (7)

days before the final pretrial conference. This submission shall be accompanied by a courtesy copy

containing electronic files of these documents, in Microsoft Word format, which may be

submitted by e-mail to mn_civil@ded.uscourts.gov.

           19.   Trial. This matter is scheduled for a 9-day4 jury trial beginning at 9:30 a.m. June

23, 2025, with the subsequent trial days beginning at 9:00 a.m. Until the case is submitted to the jury

for deliberations, the jury will be excused each day at 4:30 p.m. The trial will be timed, as counsel

will be allocated a total number of hours in which to present their respective cases.

           20.   Judgment on Verdict and Post-Trial Status Report. Within seven (7) days after a

jury returns a verdict in any portion of a jury trial, the parties shall jointly submit a form of order to

enter judgment on the verdict. At the same time, the parties shall submit a joint status report, indicating

among other things how the case should proceed and listing any post-trial motions each party intends

to file.

           21.   Post-Trial Motions. Unless otherwise ordered by the Court, all SIDES are limited to a

maximum of 20 pages of opening briefs, 20 pages of answering briefs, and 10 pages of reply briefs

relating to any post-trial motions filed by that side, no matter how many such motions are filed.




                                                  The Honorable Maryellen Noreika
                                                  United States District Judge




4
 Although the Court is setting aside 9 days for this jury trial, the actual number of trial days will be
determined closer to trial.
                                                  11
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                                    Chart of All Relevant Deadlines


                       Event                                                Date
Rule 26(a)(1) initial disclosures (¶ 1)                                April 14, 2023

Application to Court for Protective Order (¶ 3)           30 days following entry of this Order
Plaintiff to identify accused method(s) and/or                          May 19, 2023
products, damages model, asserted patents, and
produce file histories (¶ 6a)
Defendant to produce core technical                                     June 30, 2023
documents and sales figures of accused
methods(s) and/or products (¶ 6b)
Defendant to make source code available                                 June 30, 2023
Plaintiff to produce an initial infringement                          August 18, 2023
claim chart (¶ 6c)
Defendant to produce its initial invalidity                           September 8, 2023
contentions (¶ 6d)
Joinder of other parties and amendment of                         September 18, 2023
pleadings (¶ 2)
Exchange list of claim terms and proposed                             October 20, 2023
constructions (¶ 10)
Document production substantially complete (¶                         December 1, 2023
8b)
The parties must finally supplement, inter alia,                  December 15, 2023
the identification of all accused products and of
all invalidity references. (¶ 13).
Fact discovery cut off (¶ 7a)                                         February 9, 2024
Plaintiff to provide final infringement contentions                    March 1, 2024
and identification of accused products (¶ 6e)
Defendant to provide final invalidity contentions                      March 15, 2024
and identification of invalidity references (¶ 6f)
Parties to exchange final validity and non-                            March 29, 2024
infringement contentions
Submit joint claim construction chart (¶ 10)                            April 5, 2024
Serve Plaintiff’s opening claim construction brief                     April 26, 2024
(20 pages) (¶ 11)
Serve Defendant’s answering claim                                       May 24, 2024
construction brief (30 pages) (¶ 11)
Serve Plaintiffs’ reply claim construction brief                        June 7, 2024
(20 pages) (¶ 11)
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   Serve Defendant’s sur-reply claim construction                          June 14, 2024
   brief (10 pages) (¶ 11)
   File joint claim construction brief (¶ 11); joint                       June 21, 2024
   letter re: live testimony and amount of time for the
   claim construction hearing (¶ 12); technology
   tutorials (¶ 9)
   Claim construction hearing (¶ 12)                                July 26, 2024 at 10:00 a.m.
   Opening expert reports (¶ 7.f.i)                                     September 13, 2024
   Responsive expert reports (¶ 7.f.i)                                    October 11, 2024
   Reply expert reports (¶ 7.f.i)                                        November 8, 2024
   End of expert discovery period (¶ 7.f.iv)                             December 6, 2024
   Case dispositive motions and opening briefs                            January 10, 2025
   therefor (¶ 14(a)); Daubert motions and opening
   briefs therefor (¶ 8.f.iii)
   Responsive brief(s) for dispositive motions and                        January 24, 2025
   Daubert motions (¶ 14(a); Local Rule 7.1.2(b))
   Reply brief for dispositive motions and Daubert                        January 31, 2025
   motions (¶ 14(a); Local Rule 7.1.2(b))
   Jury instructions, voir dire, and special verdict                        June 6, 2025
   forms (¶ 18)
   Joint proposed pretrial order (¶ 17; Local Rule                          June 6, 2025
   16.3(c))

   Pretrial conference (¶ 17)                                     June 16, 2025 at 4:30 p.m.

   Jury trial (¶ 19) (9 days*)                                             June 23, 2025
   Judgment on verdict and post-trial status report (¶            Seven (7) days after the verdict
   20)



* Although the Court is setting aside 9 days for this jury trial, the actual number of trial days will be
  determined closer to trial.
